          Case 3:21-cv-00338-HNJ Document 10 Filed 04/14/21 Page 1 of 1                                 FILED
                                                                                               2021 Apr-14 AM 11:09
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                            NORTHWESTERN DIVISION

 Melissa Driggers,

               Plaintiff,
                                               Case No.: 3:21-cv-00338-HNJ
 v.

 Medicredit, Inc., a Missouri corporation,

               Defendant.


                                 NOTICE OF APPEARANCE

       COMES NOW Tazewell T. Shepard IV and hereby gives notice of his appearance on
behalf of Medicredit, Inc. in the above-referenced matter. The undersigned counsel further
requests that all notices given or required to be given in this proceeding, and all papers served or
required to be served in this proceeding, be given to and served upon him at the address below.

       Respectfully submitted this the 14th day of April, 2021.
                                              /s/ Tazewell T. Shepard IV
                                              Tazewell T. Shepard IV (ASB-6254-I20V)
                                              Attorney for Defendant Medicredit, Inc.
                                              SPARKMAN, SHEPARD & MORRIS, P.C.
                                              P.O. Box 19045
                                              Huntsville, AL 35804
                                              (256) 512-9924
                                              ty@ssmattorneys.com

                                CERTIFICATE OF SERVICE

       This is to certify that I have this the 14th day of April, 2021 served the foregoing document
upon David J. Phillips and Mary E. Phillips, Counsel for the Plaintiff, Phillips & Phillips, Ltd.,
9760 S., Roberts Road, Suite One Palos Hills, IL 60465 and Ronald C. Sykstus, Counsel for the
Plaintiff, Bond, Botes, Syktus, Tanner & Ezzell, P.C., 225 Pratt Ave., Huntsville, AL 35801 by
electronic service through the Court’s CM/ECF system.
                                              /s/ Tazewell T. Shepard IV
                                              Tazewell T. Shepard IV
